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UNITED STATES DISTRICT COURT MAY 0 2 2016
NORTHERN DISTRICT OF CALIFORNIA SUS

SAN FRANCISCO DIVISION mem U"‘ND)’ SOO q

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[Stipulating parties listed on signature page ]

 

DRNM
In rer CATHODE RAY TUBE (CRT) Master File No. 3:07-CV-05944-JST
ANTITRUST LITIGATION MDL NO_ 1917
This Document Relates To: STIPULATION AND

ORDER REGARDING SEARS &

KMART’S SCOPE OF ARGUMEN'I` AT
Sears, Roebuck and Co. and Kmart Corp. v. TRIAL

Chunghwa Picture Tubes, Ltd, NO. l l-cv-
05 5 14

 

 

ST[PULATION AND [PROPOSED] ORDER REGARDING

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WHEREAS Plaintiffs Sears, Roebuck and Co. and Kmart Corporation (“Plaintiffs”) are the
only remaining plaintiffs in Case No. l l-cv-05514;

WHEREAS LG Electronics, Inc. (“LGE”) is the only remaining defendant in Case No. ll-
cv-05514;

PURSUANT TO LOCAL RULE 7-12, PLAINTIFFS AND LGE, BY AND THROUGH
THEIR RESPECTIVE COUNSEL OF RECORD, HEREBY STIPULATE AS FOLLOWS:

l. Plaintiffs will not argue at trial or otherwise suggest that they are the only entities
seeking to hold LGE liable for its involvement in the alleged conspiracy, such that Plaintiffs are
“the only champions” attempting to hold LGE accountable

2. Nothing in this stipulation prevents Plaintiffs from arguing in support of their motion in
limine that evidence of other lawsuits and settlements should be excluded or from seeking a jury
instruction from the Court explaining the importance of private enforcement of the antitrust laws.
See ECF No. 3558 at 24-29 (MIL # 6). Nor does anything in this stipulation prevent LGE from
arguing in opposition to that motion that evidence of other lawsuits and settlements should be
admitted, or in opposition to such a jury instruction. See ECF No. 3676-4 at 28-35.

3. LGE will withdraw as moot its Request for Leave to File a Motion to Exclude Any
Argument by Plaintiffs that They Are the Only Entities Trying to Hold LGE Liable for Its
Involvement in the Alleged Conspiracy and to Admit Evidence of Other Lawsuits and Settlements,
ECF No. 4562.

4. This stipulation shall not be introduced into evidence during the jury trial or read to the
jury during trial, and it shall not be relied on to support an entitlement to any relief not expressly

contemplated by the terms of this stipulation.

STIPULATION AND [PROPOSED] ORDER REGARDFNG

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Dated: April 28, 2016

Respectfully submitted,

MUNGER, TOLLES & OLSON LLP

/s/ Brad D. Brian

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Attorneysfor Plaintijjfv Sears, Roebuck and CO. and
Kmart Corp.

Pursuant to Local Rule 5-1(1), the fller attests that the concurrence in the filing of this

document has been obtained from each of the above signatories.

STIPULATION AND [PROPOSED] ORDER REGARDl`NG
SEA_RS’ & KMART’S SCOPE OF ARGUMEN'[` A'I` 'I`RlAL

Case No. 07-cv-5944 JST (N.D. Cal.)

 

 

 

 

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It is so stipulated and agreed to by the parties.

PURSUANT TO STIPULATION, IT IS SO ORDERED.

Dated: {/7"/ l b

STIPULATlON AND [PROPOSED] ORDER REGARDING
SEARS’ & KMART’S SCOPE OF ARGUMENT AT TRIAL

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Hon. Jon S. T€?
ed States Distr Judge

Case No. 07-cv-5944 JST (N.D. Cal.)

 

 

